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                               UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
11
                                    WESTERN DIVISION
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14     SECURITIES AND EXCHANGE                Case No. 2:19-cv-04348-PSG-AGR
       COMMISSION,
15                                            [PROPOSED] CORRECTED FINAL
                  Plaintiff,                  JUDGMENT AS TO JESSICA
16                                            SNYDER
17          vs.
18     DAVID N. OSEGUEDA, ISHMAIL
       CALVIN ROSS, aka CALVIN ROSS,
19     ZACHARY R. LOGAN, and JESSICA
       SNYDER, fka JESSICA
20     GUTIERREZ,
21
                  Defendants.
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 1          This matter came before the Court upon Plaintiff Securities and Exchange
 2    Commission’s (“SEC”) Motion for Final Judgment against defendant Jessica Snyder.
 3    The Court, having considered the memoranda and evidence filed by the parties, and
 4    all other argument and evidence presented to it, and good cause appearing therefore,
 5    grants the SEC’s Motion and enters this Final Judgment as to Jessica Snyder
 6    (“Defendant”).
 7                                                  I.
 8          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
 9    permanently restrained and enjoined from violating, directly or indirectly, Section
10    10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C.
11    § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using
12    any means or instrumentality of interstate commerce, or of the mails, or of any
13    facility of any national securities exchange, in connection with the purchase or sale of
14    any security:
15          (a)       to employ any device, scheme, or artifice to defraud;
16          (b)       to make any untrue statement of a material fact or to omit to state a
17          material fact necessary in order to make the statements made, in the light of the
18          circumstances under which they were made, not misleading; or
19          (c)       to engage in any act, practice, or course of business which operates or
20          would operate as a fraud or deceit upon any person.
21          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
22    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
23    binds the following who receive actual notice of this Judgment by personal service or
24    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and
25    (b) other persons in active concert or participation with Defendant or with anyone
26    described in (a).
27                                                 II.
28          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

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 1    Defendant is permanently restrained and enjoined from violating Section 17(a) of the
 2    Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale
 3    of any security by the use of any means or instruments of transportation or
 4    communication in interstate commerce or by use of the mails, directly or indirectly:
 5          (a)    to employ any device, scheme, or artifice to defraud;
 6          (b)    to obtain money or property by means of any untrue statement of a
 7          material fact or any omission of a material fact necessary in order to make the
 8          statements made, in light of the circumstances under which they were made,
 9          not misleading; or
10          (c)    to engage in any transaction, practice, or course of business which
11          operates or would operate as a fraud or deceit upon the purchaser.
12          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
13    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
14    binds the following who receive actual notice of this Judgment by personal service or
15    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and
16    (b) other persons in active concert or participation with Defendant or with anyone
17    described in (a).
18                                                III.
19          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, pursuant
20    to Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and/or Section 20(e)
21    of the Securities Act [15 U.S.C. § 77t(e)], Defendant is prohibited permanently from
22    acting as an officer or director of any issuer that has a class of securities registered
23    pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78l] or that is required to
24    file reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)].
25                                                IV.
26          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
27    Defendant is permanently barred from participating in an offering of penny stock,
28    including engaging in activities with a broker, dealer, or issuer for purposes of

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 1    issuing, trading, or inducing or attempting to induce the purchase or sale of any penny
 2    stock. A penny stock is any equity security that has a price of less than five dollars,
 3    except as provided in Rule 3a51-1 under the Exchange Act [17 C.F.R. § 240.3a51-1].
 4                                               V.
 5          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
 6    is liable for a civil penalty in the amount of $100,000 pursuant to Section 20(d) of the
 7    Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15
 8    U.S.C. § 78u(d)(3)]. Defendant shall satisfy this obligation by paying $100,000 to
 9    the Securities and Exchange Commission within 30 days after entry of this Final
10    Judgment.
11           Defendant may transmit payment electronically to the Commission, which will
12    provide detailed ACH transfer/Fedwire instructions upon request. Payment may also
13    be made directly from a bank account via Pay.gov through the SEC website at
14    http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified
15    check, bank cashier’s check, or United States postal money order payable to the
16    Securities and Exchange Commission, which shall be delivered or mailed to
17          Enterprise Services Center
            Accounts Receivable Branch
18
            6500 South MacArthur Boulevard
19          Oklahoma City, OK 73169
20    and shall be accompanied by a letter identifying the case title, civil action number,
21    and name of this Court; Jessica Snyder as a defendant in this action; and specifying
22    that payment is made pursuant to this Final Judgment.
23          Defendant shall simultaneously transmit photocopies of evidence of payment
24    and case identifying information to the Commission’s counsel in this action. By
25    making this payment, Defendant relinquishes all legal and equitable right, title, and
26    interest in such funds and no part of the funds shall be returned to Defendant. The
27    Commission shall send the funds paid pursuant to this Final Judgment to the United
28    States Treasury.

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 1          The Commission may enforce the Court’s judgment for penalties by the use of
 2    all collection procedures authorized by law, including the Federal Debt Collection
 3    Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil contempt for the
 4    violation of any Court orders issued in this action. Defendant shall pay post
 5    judgment interest on any amounts due after 30 days of the entry of this Final
 6    Judgment pursuant to 28 U.S.C. § 1961. The Commission shall hold the funds,
 7    together with any interest and income earned thereon (collectively, the “Fund”),
 8    pending further order of the Court.
 9          The Commission may propose a plan to distribute the Fund subject to the
10    Court’s approval. Such a plan may provide that the Fund shall be distributed
11    pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act of
12    2002. The Court shall retain jurisdiction over the administration of any distribution
13    of the Fund and the Fund may only be disbursed pursuant to an Order of the Court.
14    Regardless of whether any such Fair Fund distribution is made, amounts ordered to
15    be paid as civil penalties pursuant to this Judgment shall be treated as penalties paid
16    to the government for all purposes, including all tax purposes. To preserve the
17    deterrent effect of the civil penalty, Defendant shall not, after offset or reduction of
18    any award of compensatory damages in any Related Investor Action based on
19    Defendant’s payment of disgorgement in this action, argue that [it, he, she] is entitled
20    to, nor shall he further benefit by, offset or reduction of such compensatory damages
21    award by the amount of any part of Defendant’s payment of a civil penalty in this
22    action (“Penalty Offset”). If the court in any Related Investor Action grants such a
23    Penalty Offset, Defendant shall, within 30 days after entry of a final order granting
24    the Penalty Offset, notify the Commission’s counsel in this action and pay the amount
25    of the Penalty Offset to the United States Treasury or to a Fair Fund, as the
26    Commission directs. Such a payment shall not be deemed an additional civil penalty
27    and shall not be deemed to change the amount of the civil penalty imposed in this
28    Judgment. For purposes of this paragraph, a “Related Investor Action” means a

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 1    private damages action brought against Defendant by or on behalf of one or more
 2    investors based on substantially the same facts as alleged in the Complaint in this
 3    action.
 4                                               VI.
 5          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for
 6    purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code,
 7    11 U.S.C. § 523, the allegations in the complaint are true and admitted by Defendant,
 8    and further, any debt for disgorgement, prejudgment interest, civil penalty or other
 9    amounts due by Defendant under this Judgment or any other judgment, order, consent
10    order, decree or settlement agreement entered in connection with this proceeding, is a
11    debt for the violation by Defendant of the federal securities laws or any regulation or
12    order issued under such laws, as set forth in Section 523(a)(19) of the Bankruptcy
13    Code, 11 U.S.C. § 523(a)(19).
14                                               VII.
15          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court
16    shall retain jurisdiction of this matter for the purposes of enforcing the terms of this
17    Judgment.
18                                              VIII.
19          There being no just reason for delay, pursuant to Rule 54(b) of the Federal
20    Rules of Civil Procedure, the Clerk is ordered to enter this Judgment forthwith and
21    without further notice.
22
23            April 28
      Dated: ______________,  2021
                             _____
24                                            ____________________________________
                                              PHILIP S. GUTIERREZ
25                                            UNITED STATES DISTRICT JUDGE
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 1                                   PROOF OF SERVICE
 2    I am over the age of 18 years and not a party to this action. My business address is:
 3          U.S. SECURITIES AND EXCHANGE COMMISSION,
            444 S. Flower Street, Suite 900, Los Angeles, California 90071
 4          Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
 5    On April 27, 2021, I caused to be served the document entitled [PROPOSED]
      CORRECTED FINAL JUDGMENT AS TO JESSICA SNYDER on all the
 6    parties to this action addressed as stated on the attached service list:
 7    ‫܈‬      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
      collection and mailing today following ordinary business practices. I am readily
 8    familiar with this agency’s practice for collection and processing of correspondence
      for mailing; such correspondence would be deposited with the U.S. Postal Service on
 9    the same day in the ordinary course of business.
10          ‫܆‬      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
      which I personally deposited with the U.S. Postal Service. Each such envelope was
11    deposited with the U.S. Postal Service at Los Angeles, California, with first class
      postage thereon fully prepaid.
12
            ‫܆‬     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
13    regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
      Angeles, California, with Express Mail postage paid.
14
      ‫܆‬      HAND DELIVERY: I caused to be hand delivered each such envelope to the
15    office of the addressee as stated on the attached service list.
16    ‫܆‬     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
      by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
17    deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
      Los Angeles, California.
18
      ‫܆‬      ELECTRONIC MAIL: By transmitting the document by electronic mail to
19    the electronic mail address as stated on the attached service list.
20    ‫܈‬    E-FILING: By causing the document to be electronically filed via the Court’s
      CM/ECF system, which effects electronic service on counsel who are registered with
21    the CM/ECF system.
22    ‫܆‬     FAX: By transmitting the document by facsimile transmission. The
      transmission was reported as complete and without error.
23
            I declare under penalty of perjury that the foregoing is true and correct.
24
25     Date: April 27, 2021                       /s/ Lynn M. Dean
                                                 LYNN M. DEAN
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 1                                 SEC v. Osegueda, et al.
                 United States District Court – Central District of California
 2                           Case No. 2:19-cv-04348-PSG-AGR
 3                                     SERVICE LIST
 4
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 9          mkrezalek@blankrome.com
            Attorneys for Defendant Ishmail Calvin Ross
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11
            Jessica Snyder (by U.S. mail)
12          P.O. Box 493
            Avondale, AZ 85323
13          Defendant Jessica Snyder (Pro Se)
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